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                                                            )
                                                             )
                     Defendan                                                       s)             (


                                          CRIMINAL COMPLAINT
       I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 30, 2018; August 27-28, 2018 in the county of Collin                                in the

    Eastern District of Texas , the defendant(s) violated:

          Code Section                                                Offense Description

18 U.S.C.§ 2422(b)                       Attempted coercion and enticement of a minor
18U.S.C. §2252A(a)(2)(A)                 Receipt of child pornography
18U.S.C. §2252A(a)(5)(B)                 Possession of child pornography




        This criminal complaint is based on these facts:

See attached Affidavit.




        Sf Continued on the attached sheet.



                                                                            I X Complainant s signature

                                                                              Special Agent Jennifer Mullican, FBI



Swo to before me and signed in my presence.


Date; 09/24/2018
                                                                                         Judge s signature


City and state: Plano, Texas                                          Kimberly C. Priest Johnson, U.S. Magistrate Judge
                                                                                       Printed name and title
